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Amy L. Bennecoff (275805)
Kimrnel & Silverman, P.C.
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Ambler, PA 19002
Telephone: 215-540-8888
Facsimile; 877-788-2864
abennecoff@creditlaw.com
Attorney for Plaintiff

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

£;§111§02“11261/?§@ 1114511

ANGELA JOHNSON,
Plaintiff, COMPLAINT FOR DAMAGES
1. VIOLATION OF THE FAIR
V. DEBT COLLECTION PRACTICES
ACT, 15 U.S.C. §1692 ET. SEQ.;
PORTFOLIO RECOVERY 2. VIOLATI()N OF THE

ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT,
CAL. CIV. CODE §1788 ET. SEQ.

JURY TRIAL DEMANDED

ASSOCIATES, LLC,

Defendant.

v\/W`/\./VVW\./V\./

 

 

 

 

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COMPLAINT
ANGELA JOHNSON (“Plaintiff’), by her attorneys, KIMMEL &
SILVERMAN, P.C., alleges the following against Defendant PORTFOLIO

RECOVERY ASSOCIATES, LLC. (“Defendant”):

INTRODUCTION
1. Plaintiff’ s Complaint is based on the Fair Debt Collection Practices
Act, 15 U.S.C. §1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection
Practices Act, cal. Civ. Code §1788, et. seq. (“RFDCPA”) Which prohibits debt

collectors from engaging in abusive, deceptive, and unfair practices.

JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
Which states that such actions may be brought and heard before “any appropriate
United States district court Without regard to the amount in controversy,” and 28
U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
under the laws of the United States.
3. Defendant conducts business in the State of California and therefore,

personal jurisdiction is established

4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 

 

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PARTIES

5. Plaintiff is a natural person residing in Ventura, California.

6. Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
§1692a(3) and is a “debtor” as defined by Cal. Civ. Code §1788.2(h).

7. Defendant is a corporation specializing in debt collection with its
principal place of business located at 120 Corporate Boulevard, Norfoll<, Virginia
23502

8. Defendant is a “debt collector” as that term is defined by 15 U.S.C.
§1692a(6), and RFDCPA, Cal. Civ. Code §1788.2(0).

9. Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

FACTUAL ALLEGATIONS
10. At all relevant times, Defendant was acting to collect an alleged
consumer debt from Plaintiff as the term is defined by the FDCPA at 15 U.S.C. §
1692a(5) and the RFDCPA at Cal. Civ. Code §1788.2(1).
1 1. The alleged debt at issue originates from a Sears credit card that was
more than twelve years old, and arose out of transactions which were primarily for
personal, family, or household purposes

12. As Plaintiff owes no business debt, the debt sought by Defendant

 

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could only have been personal in nature.

13. Throughout the past year, and continuing until April 2012,
Defendant’s collectors made repeated harassing calls to Plaintiff" s home telephone
regarding the alleged Sears card debt.

14. Defendant’s telephone calls originated from numbers including, but
not limited to (866) 909-0529. The undersigned has confirmed that this number
belongs to Defendant.

15. Often times, Defendant’s collectors placed more than three harassing
collection calls to Plaintiff in a day.

16. On several days, Defendant called Plaintiff more than five times

17v Defendant called Plaintiff well in excess of twenty-five times per
month.

18. Defendant regularly called Plaintiff back immediately after Plaintiff
hung up.

19. On several occasions, Defendant’s collectors spoke with Plaintiff s
mother in law and stated that Defendant needed to speak with Plaintiff regarding
an “important personal matter.”

20. This statement was a misrepresentation, as an alleged twelve year old
debt that has been purchased by a debt-buyer, could in no way be considered
“important” to Plaintiff or her mother-in-law.

21. Additionally, this conversation caused Plaintiff to discuss her

 

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financial difficulties with her mother-in-law, which was embarrassing for Plaintiff

22. Plaintiff, Plaintiff’s husband and Plaintiff’s mother~in~law told
Defendant on numerous occasions to stop calling their home telephone

23. Despite this clear demand, Defendant continued to call Plaintiff’s
home telephone multiple times per day.

24. Defendant’s actions as described herein were made with the intent to

harass, abuse, and coerce payment from Plaintiff

COUNT I
DEFENDANT VIOLATED § 1692d OF THE
FAIR DEBT COLLECTION PRACTICES ACT
25 . Section 1692d of the FDCPA prohibits debt collectors from engaging
in any conduct the natural consequence of which is to harass, oppress or abuse any
person in connection with the collection of a debt.
26. Defendant violated § 1692d of the FDCPA when it called Plaintiff

repeatedly and continuously and when it engaged in other harassing and abusive

conduct.

COUNT II
DEFENDANT VIOLATED § 1692d(5) OF THE
FAIR DEBT COLLECTION PRACTICES ACT

27. Section 1692d(5) of the FDCPA prohibits debt collectors from

 

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causing a telephone to ring or engaging any person in telephone conversation
repeatedly or continuously with the intent to annoy, abuse or harass any person at
the called number.

28. Defendant violated § 1692d(5) of the FDCPA when it caused
Plaintiff` s telephone to ring repeatedly and continuously with the intent to harass

or annoy Plaintiff

COUNT III
DEFENDANT VIOLATED §1692e OF THE

FAIR DEBT COLLECTION PRACTICES ACT

29. Section 1692e of the FDCPA prohibits debt collectors from using
false, deceptive or misleading representation or means in connection with the
collection of any debt.
30. Defendant violated § 1692e of the FDCPA, when it misrepresented

that it needed to speak with Plaintiff about an “important personal matter”, and

when it made other misrepresentations in connection to the collection of an alleged

debt from Plaintiff

COUNT IV
DEFENDANT VIOLATED § l692e(10) OF THE
FAIR DEBT COLLECTION PRACTICES ACT
31. Section 1692e(10) of the FDCPA prohibits debt collectors from using

false representations or deceptive means to collect a debt or to obtain information

 

 

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from a consumer.
32. Defendant violated § 1692e(10) of the FDCPA, when it
misrepresented that it needed to speak with Plaintiff about an “important personal

matter” and when it used other deceptive means to collect a debt from Plaintiff.

COUNT V
DEFENDANT VIOLATED § 1692f OF THE
FAIR DEBT COLLECTION PRACTICES ACT
33. Section 1692f of the FDCPA prohibits debt collectors from using
unfair or unconscionable means to collect or attempt to collect an alleged debt.
34. Defendant violated § 1692f of the FDCPA when it called Plaintiff
repeatedly and continuously, when it misrepresented that it needed to speak with

plaintiff about an important personal matter, and when it engaged in other unfair

conduct.

COUNT VI
DEFENDANT VIOLATED THE
ROSENTH'AL FAIR DEBT COLLECTION PRACTICES ACT
35. Section 1788.17 of the California Civil Code mandates that every debt
collector attempting to collect a consumer debt shall comply with § 1692b through
§ 1692j ofthe FDCPA.

36. Defendant violated Cal. Civ. Code § 1788.17, when it violated the

FDCPA for the reasons set forth in this Complaint.

 

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WHEREFORE, Plaintiff, ANGELA JOHNSON, respectfully prays for a

judgment as follows:

a. Actual Damages;

b. Statutory damages under the FDCPA and RFDCPA;

c. Reasonable attorney’s fees and costs; and

d. Any other relief deemed appropriate by this Honorable Court. l

PLEASE TAKE NOTICE that Plaintiff, ANGELA JOHNSON demands a

jury trial in this case.

DATED: 5/9/2012

DEMAND FOR JURY TRIAL

 

 

RESPECTFULLY SUBMITTED,
Kr s LvERm P.c..
’ /
\_,)
Amy L. Bennecoff )
' el & Silverman, P.C
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Ambler, PA 19002

Telephone: (215) 540-8888
Facsimile: (215) 540-8817

Email: abennecoff@creditlaw.com
Attorney for Plaintiff

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Philip S. Gutierrez and the assigned
discovery Magistrate Judge is Andrew J. Wistrich.

The case number on all documents filed with the Court should read as follows:

CV12- 4261 PSG (AJWX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served With the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be sen/ed on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES |VIAG|STRATE JUDGE FOR D|SCOVERY

Case 2:12-cv-04261-A.]W Document 1 Filed 05/16/12 Page 10 of 13 Page |D #:23

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DisrRicT CoURr

for the

 

Central District of California

 

ANGELA JOHNSON l , l
ns cviz-4261'r>@1444
v. Civil Action No.

PORTFOL|O RECO\/ERY ASSOC|ATES, LLC

Defendant

VV\_/\_/\_/\/\_/

SUMMONS lN A CIVIL ACTION

TOJ (Defendam's name and address) PORTFOL|O RECOVERY ASSOC|ATES, LLC
140 Corporate B|vd.
Norfo|k, VA 23502

A lawsuit s been filed against you.

Within 1 ;1:1// after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United tat or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
Po 12 (a)(2) or( _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Amy L_ Bennecoff, Esquire

Kll\/||\/IEL & S|LVERMAN
30 East But|er Pike
Ambler, PA 19002
(215)540-8888

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the court.

CLERK OF COURT

Si,§nq;rig'£fC/erk or Depuly C/erk

`__`,

Case 2:12-cv-04261-A.]W Document 1 Filed 05/16/12 Page 11 of 13 Page |D #:24

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVlCE `
(This section should not be filed with the court unless required by Ferl. R. Civ. P. 4 (l))

ThiS SummOnS fOt‘ (nanie of individual and title, if any)

 

was received by me on (dare)

ij l personally served the summons on the individual at (place)

 

on (date) ; or

ij 1 left the Summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

13 l served the summons on (name ofindividual) , who is

designated by law to accept service of process on behalf of (name of organizcrrion)

 

 

 

on (dare) ; or
ij I returned the summons unexecuted because ; or
ij O'thel‘ (specij/).'
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Priiited name and title

Server ’s address

Additional information regarding attempted service, etc:

Case 2:12-cv-04261-A.]W Document 1 Filed 05/16/12 Page 12 of 13 Page |D #:25

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

DEFENDANTS

I(a) PLAINTIFFS (Check box if you are representing yourself E|)
PORTFOLIO RECOVERY ASSOCIATES

ANGELA JOHNSON

 

(b) Attorneys (F irm Name, Address and Telephone Number. 1f you are representing Attorneys (If Known)

yourself, provide same.)
AMY L. BENNECOFF, ESQ., KIMMEL & SiLVERMAN, P.C.

30 East Butler Avenue, Ambler, PA 19003
(215)540-8888', abennecoff@creditlaw.com

 

 

II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHIP OF PRINC!PAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
1:1 1 U_S. Government Plaintiff M3 Federal Question (U.S. PTF DEF PTF DEF
Governinent Not a Party) Citizen of This State E] l ij l Incorporated or Principai Place |:1 4 l:| 4
ofBusiness in this State
1:] 2 U.S. Govemment Defendant |:1 4 Diversity (lndicate Citizenship Citizen ofAnother State |Il 2 111 2 Incorporated and Principal Place |:1 5 1:| 5
ofParties in Item lII) ofBusiness in Another State
Citizen or Subject of a Foreign Country |:| 3 l:l 3 Foreign Nation 111 6 ij 6

 

 

lV. ORIGIN (Place an X in one box only.)

dl Original 1:| 2 Removed from 13 3 Reinanded from [1 4 Reinstated or 1:1 5 Transferred from another district (specify): l:i 6 Multi- 1:1 7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: E(Yes [1 No (Check ‘Yes‘ only if demanded in complaint.)
111 MONEY DEMANDED lN COMPLA!NT: $

CLASS ACTION under F.R.C.P. 23: 1:1 Yes [!(No

 

 

Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 U.S.C. 1692k
VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 

 

 

1 OTHER STATUTES CONTRACT TORTS y TORTS_ ~ j PRiSONER LABOR

[1 400 State Reapportionment |] 110 lnsurance PERSONAL INJURY PERSONAL PE_'I`lTlONS v |:] 710 Fair Labor Slandzirds

ij 410 Antitrust [:1 120 Marine 1:1 310 Aifplan€ PROPERTY 1:1 510 Motions to Act

1:1 430 Banks and Banking 1:1 130 Miller Act 1:1 315 Aifpla“€ PFOdU91 111 370 Other Fraud Vacate Sentence 1:| 720 Labor/Mgmt.

ij 450 Commerce/ICC 1:1 140 Negotiable lnstrument Llability _ El 371 Truth in Lending Habeas Corpus Relations
Rates/etc. 111 150 Recovery of 1:] 320 Assa““» L‘bel & 111 380 Other Personal ij 530 General 1:1 730 Labor/Mgmt.

E] 460 Deportation Overpayment & Sland°r , Propeity Damage ij 535 Death Perialty Reporting &

E 470 Racketeer Inf1uenced Enforcement of m 330 F‘_:d' _E_mpl°yers l:] 385 Property Daniage 111 540 Mandamus/ Disclosure Act
and Corrupt .iudgment m 340 Il\“/}ab_‘hty Product Liability‘ Other [:1 740 Railway Labor Act
organizations 1:1 151 predicate Act m 345 M:::: Product v BANKRUPTCY ' ,t n 550 civil Rights 13 790 other Labor

13(480 Consumer Credit 1:1 152 Recovery of Defaulted Ll.abl.h.t [l 422 Appeal 28 USC l:l 555 Prison Condit_ionv Litigation

1:1 490 Cable/Sat TV Student Loan (Excl. |:] 350 Motor zehicle 158 ' FORFEITURE/ 4 ij 791 Empi. Ret. inc_

1:1 810 Selective Service Veterans) m 355 Motor Vehicle |:1 423 Withdrawal 28 _ PENALTY Security Act

1:1 850 Securities/Commodities/ 111 153 Recovery of ProductLiability US§,`~lw$j 7 _ [] 610 Agriculture _` PROPERTY RiGHTS
Exchange Overpayment of m 360 Other Personal _ _ClV_lL 1{I_GHTS 't 13 620 Other Food & l:] 820 Copyrights

|:1 875 Customer Challenge 12 Veteran’s Benef'its mqu [1 441 Voting Drug |:1 830 Patent
USC 3410 l:l 160 Stockholders’ Suits m 362 personal Injury_ L'_i 442 Employment |:1 625 Drug Related 1:1 840 1jr_ademar1<v

1:| 890 Other Statutory Actions 1:1 190 Other Contract Med Malpra¢tic¢ l:] 443 Housing/Acco- Seizure of ' SOCIAL SEC.U.R.ITY;:,

1:1 891 Agricultural Act 1:1 195 Contract Product ij 365 personal Injury- mmodations Property 21 USC L'_] 861 HIA (l395ft)

l:l 892 Economic Stabilization Liability Product Liability l:l 444 Welfare 881 l:] 862 Black Lung (923)
Act _i:| 196 F'ranchise ij 368 Asbestos Personal 1:1 445 American with 1:1 630 Liquor Laws 111 863 DlWC/DIWW

[1 893 Environmental Matters REAL}?KOI?ERTY Injury Product Disabilities - 111 640 RrR. & Truck (405(g))

l:| 894 Energy Allocation Act l:| 210 Land Condemiiation _Lia_bi_lity_ b g Employment |'_`l 650 Airline Regs 13 864 SSID Titie XVI

ij 895 Freedom of lnfo. Act [1 220 Foreclosure IMMlGRATION ', l:l 446 American With 1:] 660 Occupational 111 865 RSI (405(g)) _

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nation under Equai Ei 240 rotts to Land Appii¢afion other 1:1 690 other 1:1 870 'raxes (u.s_ Piaihtiff
Access to Justice |:1 245 Tort Product Liability 13 463 Ha_bea$ CO_FP“S‘ 1:1 440 Other Civil or Defendant)

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state statutes 13 465 O“‘$" lm"“gra“°“ usc 7609

Actions
FOR OFFICE USE ONLY: Case Number:

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

cv~7i (05/08>

CIVIL COVER SHEET

Page 1 of 2

Case 2:12-cv-04261-A.]W Document 1 Filed 05/16/12 Page 13 of 13 Page |D #:26

UNITED STATES DISTRICT COURT,' CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEE'I`

VII[(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? E(No 111 Yes
lf yes, list case number(s):

 

VlII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? lYfNo ij Yes
If yes, list case number(s):

 

Civil cases arc deemed related ifa previously filed case and thc present case:
(Check all boxes that apply) l:i A_ Arise from the same or closely related transactions, happenings, or events; or
[] B. Call for determination of the same or substantially related or similar questions of law and fact; or
13 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
[:| D. lnvolve the same patent, trademark or copyright, _a_i_ig one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside ofthis District; State ifother than Califomia; or Foreign Country, in which EACH named plaintiff resides
C| Check here if the govemment, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

Ventura County

 

(b) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
ij Check here if the govemment, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than Califomia', or Foreign Country

Norfolk, VA

 

 

 

 

 

(c) List the County in this District; California County outside of this District', State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: 111 land condemnation cases, use the location of the tract of land involvcd. -

 

 

 

 

 

 

 
    
     

 

  

  

County in this District:* California County outside of this District', State, if other than Califomia; or Foreign Country
Ventura County
vt Los Angeles, Orangc, San Bernardino, Riverside, V*U= arl;gg,y?an Luis Obispo Counties
Note: In land condemnation cases use the location of - ~ gough _nml
\r/' /
x. erNAruRE oF ATTORNEY (oR PRo PE ); y$‘!.. pate 05/09/2012

 
   
 
 
 

 

 

Notice to Counsel/Parties: The CV-71 (JS 44) Civil hver Sheet aiQMtion contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, . - eroved b the Judicial Con er of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpo ~ ’ atistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature ofSuit Code Abbreviation Substantivc Statement ot` Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Pai‘t A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, ctc., for certification as providers of services under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Pait B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 0f2

